Case 21-22142-TPA         Doc 58                                    FILED
                              Filed 04/04/22 Entered 04/04/22 14:20:18   Desc Main
                             Document      Page 1 of 1              4/4/22 11:34 am
                                                                    CLERK
                                                                    U.S. BANKRUPTCY
                   IN THE UNITED STATES BANKRUPTCY COURT
                                                                    COURT - WDPA
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                             PITTSBURGH DIVISION

In re:                                  )
       Willette D. Copes,               )
       Kerry D. Copes                   )              Case No.: 21-22142-TPA
       Debtor.                          )              Chapter 13
                                        )
Partners for Payment Relief DE II, LLC, )
Movant.                                 )              Judge: Thomas P. Agresti
                                        )
       v.                               )              Related to Doc. 51, 56
                                        )
Willete D. Copes,                       )
Kerry D. Copes,                         )
Respondents.                            )

  NOTICE OF WITHDRAW OF PARTNERS FOR PAYMENT RELIEF DE II, LLC’S
   EMERGENCY MOTION TO EXCUSE FCI LENDER SERVICES, INC. FROM
  APPEARING AT THE ORDER TO SHOW CAUSE HEARING SCHEDULED FOR
                          APRIL 6, 2022

         COMES NOW, SECURED CREDITOR, Partners for Payment Relief DE II, LLC
(herein after referred to as “Secured Creditor”), by and through its undersigned counsel, and hereby
files this Notice of Withdraw of its MOTION TO EXCUSE FCI LENDER SERVICES, INC.
FROM APPEARING AT THE ORDER TO SHOW CAUSE HEARING SCHEDULED FOR
APRIL 6, 2022 as the matter is now moot.
         I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
electronic and/or Regular U.S. Mail to the parties listed on the attached service list this 1st Day of
April 2022.
         I HEREBY CERTIFY that I am admitted to the Bar of the United States Bankruptcy
Court for the Western District of Pennsylvania, and I am in compliance with the additional
qualifications to practice in this Court set forth in the Local Rules.

                                                       By:__/s/ Jennie C. Shnayder_______
 SO ORDERED                                            Jennie C. Shnayder, Esq. ID # 315213
 April 04, 2022                                        DWALDMANLAW, P.C.
                                                       4900 Carlisle Pike, #182
                                                       Mechanicsburg, PA 17050
                                                       Telephone: (844) 899-4162
                                                       Facsimile: (844) 882-4703
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                                                       Attorneys for Secured Creditor
